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                                          UNITED STATES DISTRICT COURT
                                                   DISTRICT OF MARYLAND



      WILLIAM CONNELLY                                                                              6500 CHERRYWOOD LANE
UNITED STATES MAGISTRATE JUDGE                                                                    GREENIIELT, MARYLAND 20770
                                                                                                         (301) 344.0627




                                                          August 9,2012




         Lavon Dobie, No. 38360-037
         U.S.P Hazelton
         SFF-HZ J2103L
         P.O. Box 3000
         Bruceton Mills, WV 26525

                           Re:   United States v. Lavon Dobie
                                 Case No.: RWT 04-0235

         Dear Ms. Dobie:

                  I am in receipt of your Motion to Replace Appointed Counsel (ECF No. 1517). On March 23,
         2012 I appointed Mirriam Seddiq to represent you at your re-sentencing hearing scheduled for October
         29,2012 at 3:30 p.m. before Judge Titus. During your re-sentencing hearing, your Motion for
         Retroactive Application of Sentencing Guidelines to Crack Cocaine Offenders (ECF No. 1476) and your
         Motion to Hold in Abeyance the Right to File a Motion under 2255 (ECF No. ISIS) will also be
         considered.

                   Your request to replace Ms. Seddiq is based on your contention that "upon doing a background
         check on her work history, it appears she has virtually no experience or practical courtroom skills to
         handle my (r]esentencing." ECF No. 1517 at I. Ms. Seddiq is a graduate of Albany Law School and has
         been a practicing lawyer for fourteen years with extensive experience in the federal courts in New York
         and Maryland. After moving to the Washington, DC area, Ms. Seddiq underwent significant review by
         this court's Criminal Justice Act Committee and was approved for felony appointments in May 2010.
         According to the court's records, Ms. Seddiq has represented forty-one individuals before this court in
         serious criminal matters. I have personally observed Ms. Seddiq in more than a dozen cases and I can
         attest to her ability, judgment and work ethic.

                   I am aware that Ms. Seddiq has visited you once at U.S.P. Hazelton in West Virginia,
         corresponds with you via email on a regular basis and is concluding reading the transcript of your 42 day
         trial. I have no doubt that Ms. Seddiq will represent you well before Judge Titus.

                  The Motion to Replace Appointed Counsel (ECF No. 1517) is DENIED.


                                                          Sincerely,



                                                           ~~_e--C             __     ~
                                                          William Connelly
                                                          United States Magistrate Judge
